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               EXHIBIT G
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No. 0100/2711                                         Ministry of Digital Economy and Society
                                                      The Government Complex, Bldg. B
                                                      ChaengWatthana Road, Laksi
                                                      Bangkok 10210, Thailand

                                              15 February B.E. 2567 (2024)


Dear Mr. Wilson White, VP of Government Affairs and Public Policy,
Greetings from Bangkok, Thailand.

              In Thailand, combating online scams is considered an urgent and top priority on
the national agenda to ensure the safety and security of our citizens. One of major online
scams is the financial scams involving malicious mobile apps which have been significantly
on the rise and many Thai people have fallen victim to these scams – at least over five
hundred million US dollars have been lost. Typically, these scams trick victims into
sideloading mobile apps that contain malware, especially .apk files from unknown sources.
These types of malware leverages certain permissions to take control of the victim’s phone
and steal sensitive information or credentials. This can then be used to make fraudulent
transactions, resulting in financial losses for the victim.
             To halt this type of financial scam and protect Thai citizens from these mobile
apps, Ministry of Digital Economy and Society (“MDES”) requested that Google should
implement a more proactive solution. I am pleased that my team and Google (Eugene
Liderman, Director of Android Security Strategy, Phermsak Lilakul, Government Affairs and
Public Policy Manager, and Yinghui Tng, Head of Government Affairs and Public Policy for
Southeast Asia) have discussed on a potential solution that blocks the installation of Internet-
sideloaded apps that may use sensitive permissions frequently abused for financial fraud.
            Recently, I have also seen the announcement in Singapore and have spoken to
my counterparts in Singapore about this security feature. I am fully supportive of this feature
and appreciate Google’s partnership with the MDES to jointly launch this in Thailand
in March 2024.
             I look forward to working together to fight financial fraud on Android. I wish
you the best of health and would like to invite you to Thailand when we launch the feature.
Should you require further information and assistance, please do not hesitate to contact
Mr. Kanaruj Chanthongdee Advisory Board to the Minister of Digital Economy and Society
at +66 6 2201 4003 or email: chanthongdeekanaruj@gmail.com.

                                             Yours sincerely,



                                        Prasert Jantararuangtong
                     Minister of Digital Economy and Society of Thailand (MDES)
